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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF GEORGIA
                                      ATLANTA DIVISION

           TAMAH JADA CLARK ex rel.
           ANTI-SEMITISM DEFENSE
           LEAGUE,
                                                        Civil Action No. 1:23-cv-05840-JPB
                                 Plaintiff,

           v.

           X CORP., WORLD JEWISH
           CONGRESS, AMERICAN ISRAEL
           PUBLIC AFFAIRS COMMITTEE

                                 Defendants.



                   DEFENDANT X CORP.’S REQUEST FOR JUDICIAL NOTICE
                         IN SUPPORT OF ITS MOTION TO DISMISS

          I.     INTRODUCTION

                   Under Federal Rule of Evidence 201 and the incorporation-by-reference

          doctrine, Defendant X Corp. respectfully requests that the Court take judicial notice

          of, or in the alternative, incorporate by reference, the following documents for

          purposes of ruling on Defendant X Corp.’s Motion to Dismiss Plaintiff’s Complaint,

          filed concurrently:

          1. Exhibit 1 is a true and correct copy of the archived version of X Corp.’s Terms

                of Service (the “Terms”) as they existed when Plaintiff created her X account in




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               August                      2023,                   available                    at

               https://web.archive.org/web/20230801013559/https://twitter.com/en/tos/         (last

               visited February 9, 2024), and is also attached as Exhibit 1 to the Trujillo-Jamison

               Declaration. In her Complaint, Plaintiff refers to X Corp.’s Rules and Policies

               (“Rules”) (ECF No. 1 (“Compl.”) at 8), which together with the Terms and the

               Privacy Policy comprise the User Agreement. See Ex. 1 at 1.

            2. Exhibit 2 is a true and correct copy of X Corp.’s Terms in effect when Plaintiff

               was allegedly defamed in November 2023, and which remain in effect today,

               available at https://twitter.com/en/tos (last visited February 9, 2024), and is

               attached as Exhibit 2 to the Trujillo-Jamison Declaration. In her Complaint,

               Plaintiff references X’s Rules (Compl. at 8), which together with the Terms and

               the Privacy Policy comprise the User Agreement. See Ex. 2 at 2.

            3. Exhibit 3 is a true and correct copy of X’s Hateful Conduct Policy in effect when

                Plaintiff was allegedly defamed in November 2023, and which remains in effect

                today,   available    at   https://help.twitter.com/en/rules-and-policies/hateful-

                conduct-policy (last visited February 9, 2024), and is attached as Exhibit 3 to the

                Trujillo-Jamison Declaration. In her Complaint, Plaintiff references and directly

                quotes from X’s Hateful Conduct Policy and cites to the above-listed URL. See

                Compl. at 8.




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            4. Exhibit 4 is a true and correct copy of the webpage for Plaintiff’s Twitter account

               profile    for     the     handle      @The_ADL_dot_org,          available     at

               https://twitter.com/theadl_dot_org (last visited February 13, 2024), and is

               attached as Exhibit 5 to the Trujillo-Jamison Declaration. In her Complaint,

               Plaintiff alleges she created a X account and used X, and that her X handle is

               “@The_ADL_dot_org.” See Compl. 7 (Plaintiff “published to ‘X’ social media

               platform”), 18 (signature block). A true and correct copy of Plaintiff’s X account

               webpage shows that the account was created in August 2023. See Ex. 5 (“Joined

               August 2023”).

            5. Exhibit 5 is a true and correct copy of the archived version of the sign-up page

               for new X account holders as it existed when Plaintiff created her X account in

               August               of              2023,               available               at

               https://web.archive.org/web/20230801165313/https://twitter.com/i/flow/signup

               (last visited February 13, 2024), and is attached as Exhibit 4 to the Trujillo-

               Jamison Declaration. In her Complaint, Plaintiff alleges she used Twitter and that

               her Twitter handle is “@The_ADL_dot_org.” See Compl. 7 (Plaintiff “published

               to ‘X’ social media platform”), 18 (signature block). A true and correct copy of

               Plaintiff’s X account webpage shows that she created the account in August 2023.

               See Ex. 4 (“Joined August 2023”).




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            II.   LEGAL STANDARDS

                  A.     Judicial Notice

                  Courts may take judicial notice of facts that are “not subject to reasonable

            dispute.” Fed. R. Evid. 201(b). Facts not subject to reasonable dispute are ones that

            (1) are “generally known within the trial court’s territorial jurisdiction” or (2) can be

            “accurately and readily determined from sources whose accuracy cannot reasonably

            be questions.” Id.; see Kojha v. Orexigen Therapeutics, Inc., 899 F.3d 999, 1001 (9th

            Cir. 2018). When ruling on a motion to dismiss, a court may consider material that

            is appropriate for judicial notice. See, e.g., Tellabs, Inc. v. Makor Issues & Rights,

            Ltd., 551 U.S. 308, 322 (2007); Kohjha, 899 F.3d at 998; In re Floor & Decor

            Holdings, Inc. Sec. Litig., No. 1:19-CV-2270-SCJ, 2020 WL 13543880, at *2 (N.D.

            Ga. Sept. 21, 2020) (“Floor & Décor”) (taking judicial notice of exhibits and

            considering those exhibits in ruling on motion to dismiss).

                  B.     Incorporation By Reference

                  “[I]ncorporation-by-reference is a judicially created doctrine that treats

            certain documents as though they are part of the complaint itself.” Khoja, 899 F.3d

            at 1002. A document may be incorporated by reference, “if the document’s contents

            are alleged in a complaint and no party questions those contents.” Day v. Taylor, 400

            F.3d 1272, 1276 (11th Cir. 2005); Hines v. Midland Mortg. Co., No. 1:22-CV-5056-

            MHC-JSA, 2023 WL 2933343, at *3 (N.D. Ga. Feb. 22, 2023) (taking judicial notice



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            of the security deed at issue because its authenticity is “undisputed by Plaintiff and

            is central to her claims”); Williamson v. Bank of Am., N.A., No. 1:14-CV-02824-AT-

            JFK, 2015 WL 11517083, at *4 (N.D. Ga. June 8, 2015), report and

            recommendation adopted as modified, 2015 WL 11605553 (N.D. Ga. July 13, 2015)

            (“The foreclosure notice is central to Plaintiff's claims, and Plaintiff does not dispute

            the authenticity of the notice”); see also In re Apple Inc. Device Performance Litig.,

            386 F.Supp.3d 1155, 1165 (N.D. Cal. 2019) (“[A] document may be incorporated

            even if is never referenced directly in the Complaint if the claim necessarily

            depended on the document.”); Knievel v. ESPN, 393 F.3d 1068, 1076 (9th Cir. 2005)

            (incorporation-by-reference doctrine applies “equal force” to Internet pages).

            III.   LEGAL ARGUMENT

                   A.    The Exhibits Meet the Requirements of Fed. R. Evid. 201(b)

                   Exhibits 1 through 5, which are copies of publicly available webpages1, are

            properly subject to judicial notice because their contents are not subject to reasonable

            dispute. See, e.g., S. Ass’n of Colleges & Sch. Comm’n on Colleges, Inc. v. Bennett

            Coll., No. 1:21-CV-03060-VMC, 2022 WL 5241217, at *1 (N.D. Ga. Sept. 23,

            2022), aff'd, No. 22-13289, 2023 WL 2231773 (11th Cir. Feb. 27, 2023) (taking

            judicial notice of facts on a webpage); Juniper Networks, Inc. v Shipley, 394 F.



            1
             Exhibits 1 and 4 are true and correct archived copies of publicly available
            webpages.


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            App’x 713, 2010 WL 3591783, at *1 (Fed. Cir. Sept. 10, 2010) (“it is not uncommon

            for courts to take judicial notice of factual information found on Internet websites”);

            O’Toole v. Northrop Grumman Corp., 499 F.3d 1218, 1255 (10th Cir. 2007) (same

            principle); Altes v. Bulletproof 60, Inc., No. 2:19-cv-04409-ODW(SKx), 2020 WL

            902520, at *2 (C.D. Cal. Feb. 25, 2020) (taking judicial notice of, among other

            documents, a screen capture of a website).

                  Courts also routinely take judicial notice of social media platforms’ terms of

            services and policies, like Exhibits 1 through 4. See Capua v. Air Europa Lineas

            Aereas S.A. Inc., No. 20-CV-61438-RAR, 2021 WL 965500, at *2 (S.D. Fla. Mar.

            15, 2021) (taking judicial notice of an archived copy of Expedia’s terms of use

            obtained from Internet Archive’s Wayback Machine); Al-Ahmed v. Twitter, Inc., 603

            F. Supp. 3d 857, 869 (N.D. Cal. 2022) (taking judicial notice of Twitter’s terms of

            service); Yuksel v. Twitter, Inc., 2022 WL 16748612, at *3 (same); Trudeau v.

            Google LLC, 349 F. Supp. 3d 869, 876 (N.D. Cal. 2018) (taking judicial notice of

            Google’s Terms of Service); Matera v. Google Inc., 2016 WL 5339806, at *7 (N.D.

            Cal. Sept. 23, 2016) (same); In re Google Inc., No. 13-MD-02430-LHK, 2013 WL

            5423918, at *7 (N.D. Cal. Sept. 26, 2013) (same); Matera v. Google Inc., NO. 15-

            CV-04062-LHK, 2016 WL 8200619, at *5 (N.D. Cal. Aug. 12, 2016) (Google’s

            privacy policy was the “proper subject of judicial notice”).

                  That Exhibits 1 and 4 are “archived webpages obtained from the Internet



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            Archive’s Wayback Machine does not change this analysis.” Yuksel, 2022 WL

            16748612, at *3 (taking judicial notice of archived webpages using the Wayback

            Machine); Tobinick v. Novella, No. 9:14-CV-80781, 2015 WL 1526196, at *2 (S.D.

            Fla. Apr. 2, 2015) (taking judicial notice of Internet Archive's history of the

            webpage); Pohl v. MH Sub I, LLC, 332 F.R.D. 713, 716 (N.D. Fla. 2019) (“This

            Court follows the lead of the overwhelming number of courts that have decided the

            issue and takes judicial notice of the contents of WayBack Machine evidence.”);

            Pond Guy, Inc. v. Aquascape Designs, Inc., No. 13-13229, 2014 WL 2863871, at *4

            (E.D. Mich. June 24, 2014) (“[T]he Internet Archive has been found to be an

            acceptable source for the taking of judicial notice.”).

                  It is therefore appropriate to take judicial notice of Exhibits 1 though 5. Fed.

            R. Evid. 201(b).

                  B.     The Exhibits Meet the Requirements for Incorporation-By-
                         Reference

                  In the alternative, the Court can and should incorporate Exhibits 1 through 5

            under the incorporation-by-reference doctrine.

                  As explained in X Corp.’s Motion to Dismiss Plaintiff’s Complaint, filed

            concurrently, Plaintiff’s Complaint alleges she used X with the handle

            “@TheADL_dot_org.” See Compl. 7 (“published to ‘X’ social media platform”), 18

            (signature block). In her Complaint, Plaintiff references and quotes X’s Rules, and

            the Hateful Conduct Policy contained therein. See Compl. at 8 (quoting and citing


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            https://help.twitter.com/ed/rules-and-policies/hateful-conduct-policy). As noted, the

            Rules, together with the Terms and the Privacy Policy, comprise the User

            Agreement. See Ex. 1 at 1; Ex. 2 at 2. By referencing and quoting the Rules, which

            are part of the User Agreement, the Terms are also appropriate for incorporation by

            reference.

                  Exhibit 5, which is a true and correct copy of Plaintiff’s X account webpage

            showing that she created her X account in August 2023, also should be incorporated

            by reference because it is central to Plaintiff’s claim and its authenticity cannot

            reasonably be disputed. Plaintiff cannot dispute the authenticity of Exhibit 5 because

            she references her Twitter handle in her Complaint (Compl. at 18) and also attached

            a copy of her Twitter webpage as Exhibit E to her Affirmation of Service and Notice

            of Default (ECF No. 18). That Exhibit also reflects that Plaintiff’s Twitter handle is

            “@TheADL_dot_org.com” and reflects that she created her account in August 2023.

            Id., Ex. E (@TheADL_dot_org “Joined August 2023”).

                  In short, Exhibits 1-5 are referenced within Plaintiff’s Complaint, central to

            her defamation claim against X Corp., whose authenticity is undisputed. This Court

            should therefore incorporate Exhibits 1-5 by reference. See Hines, 2023 WL

            2933343, at *3 (taking judicial notice of the security deed at issue because its

            authenticity is “undisputed by Plaintiff and is central to her claims”); Williamson,

            2015 WL 11517083, at *4 (“The foreclosure notice is central to Plaintiff's claims,



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            and Plaintiff does not dispute the authenticity of the notice”).

            IV.   CONCLUSION

                  For these reasons, X Corp. respectfully requests this Court take judicial notice

            of, or in the alternative incorporate by reference, Exhibits 1-5 and consider them in

            deciding X Corp.’s Motion to Dismiss Plaintiff’s Complaint.



                   Dated: February 20, 2024

                                                           /s/ Colin K. Kelly
                                                           Colin K. Kelly

                                                           Counsel for Defendant X Corp.¸ via
                                                           Special Appearance Only
            .




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                               LOCAL RULE 7.1(D) CERTIFICATION

                  I certify that this Request has been prepared with one of the font and point

            selections approved by the Court in LR 5.1(B).



                                                         /s/ Colin K. Kelly
                                                         Colin K. Kelly

                                                         Counsel for Defendant X Corp.¸ via
                                                         Special Appearance Only




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                                   CERTIFICATE OF SERVICE


                 I hereby certify that on February 20, 2024, I served a copy of the foregoing

            DEFENDANT X CORP.’S REQUEST FOR JUDICIAL NOTICE IN

            SUPPORT OF ITS MOTION TO DISMISS upon all parties of record in this

            matter using the CM/ECF System.

                                                       /s/ Colin K. Kelly
                                                       Colin K. Kelly

                                                       Counsel for Defendant X Corp.¸ via
                                                       Special Appearance Only




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